        Case 3:23-cv-04155-YGR Document 10-35 Filed 08/17/23 Page 1 of 8




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13                                 UNITED STATES DISTRICT COURT
14                   NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                               Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of               DECLARATION OF K
   themselves and all others similarly situated,                D         IN SUPPORT OF
17               Plaintiffs,
                                                                PLAINTIFFS’ MOTIONS FOR
                                                                PRELIMINARY INJUNCTION
18        v.                                                    AND PROVISIONAL CLASS
                                                                CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4248327.1]
                   DECLARATION OF K       D         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-35 Filed 08/17/23 Page 2 of 8




 1                 I, K      D        , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support
 4 Plaintiffs' Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I am incarcerated in federal prison and have been incarcerated at FCI Dublin
 6 since March of 2020. In the future BOP may transfer me to other BOP facilities but at any
 7 point I could be transferred back to FCI Dublin although I never want to come back.
 8                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
 9 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
10 and put myself and other incarcerated persons at substantial risk of serious harm from
11 sexual assault, harassment, and retaliation from staff.
12                 4.     I met Warden Garcia in mid-July 2020 when I was going to either breakfast
13 or lunch when he rudely stopped me and accused me of having a hickey on my neck.
14 When I explained to him that I had recently been released from the SHU for being
15 assaulted by another inmate and showed him the resulting scars and scratches on my neck,
16 Warden Garcia became much more friendly and overly flirtatious to overaccommodate for
17 making the scene.
18                 5.     Warden Garcia would have conversations with me on the compound
19 walkway where he would make comments about my body such as inquiring about my
20 breast size and whether I had breast enhancements. He made multiple requests to see my
21 breasts. He would comment that they looked great and that he would like to see them
22 uncovered or see me topless. This escalated to him asking to see me nude in my room
23 when he made rounds. These requests lasted for approximately 3-4 months. Initially I
24 would try to laugh it off as a joke but starting in April of 2021, Warden Garcia began
25 giving me direct orders to start going to breakfast so he could see me and talk to me. If
26 Warden Garcia was at breakfast, in addition to asking me about my unit, he would talk
27 about my body and ask to see me during his rounds. If he knew roughly what time he
28 would be around for his rounds, he would also provide that information. He would also
     [4248327.1]                                          2
                   DECLARATION OF K       D         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-35 Filed 08/17/23 Page 3 of 8




 1 constantly ask when my dressing times were. Initially, I was mistaken in thinking
 2 “dressing time” related to medical dressings but Warden Garcia explained he wanted to
 3 know when I would be changing clothes in my room.
 4                 6.   During breakfast on April 13, 2021, Warden Garcia told me that it was a
 5 “good day” to be ready for him when he made his rounds and he requested that I be
 6 topless, putting on lotion when he would be making his rounds between 8:05 and 8:20.
 7 However, I was sent to laundry during this time for a bra fitting. While at laundry, I saw
 8 Warden Garcia doing a walk-through tour with other Associate Wardens and the PREA
 9 group. Warden Garcia left the group and came over to where I was standing outside the
10 dressing room and proceeded to tell me that he had left his entire tour to come see me
11 today in my room and I was here instead. He was upset and I did not feel like I could say
12 no to him.
13                 7.   On April 15, 2021, Warden Garcia again made the same request that I be
14 topless and putting on lotion when he made his rounds between 8:05 and 8:20 a.m. At
15 approximately, 8:10 a.m., he was at my door. Rather than walking past the door and
16 looking in the window, he stopped, looked in the window, knocked on the door, opened it
17 and proceeded to stand in my doorway and talk to me for roughly 20-30 seconds with the
18 door open and inmates sitting below. When I saw him during lunch on the same day, he
19 told me that I looked incredible and spectacular. After this initial incident, Warden Garcia
20 made the same request at least 6 other times. After he started having me do this he would
21 also go out of his way to make my life easier such as making sure officers did not rip
22 through my stuff when they did room searches and things like that. At one point getting the
23 facility to drop my management variable which would have allowed me to go to the camp.
24                 8.   During all these incidents, my roommate was either on a video visit or at a
25 call-out. However, there was one time when my roommate was standing outside the room
26 and she attempted to block the window when she knew I was getting undressed. Warden
27 Garcia would inform me of the time frame in which he would be making his rounds and
28 the state of undress (i.e, nude, topless, putting on lotion, getting out of the shower in a
     [4248327.1]                                       3
                   DECLARATION OF K       D         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-35 Filed 08/17/23 Page 4 of 8




 1 robe, wanting me to spin, etc.). To avoid these visits, I tried to tell Warden Garcia that I
 2 was busy or had a video visit, but he would tell me to rearrange my schedule. The last
 3 time Warden Garcia asked me to strip naked for him was on July 21, 2021, the day before
 4 Warden Garcia was walked off of FCI Dublin.
 5                 9.    When I arrived at FCI Dublin I was/was not provided with information
 6 regarding my rights under the Prison Rape Elimination Act. I only knew what I had been
 7 able to learn from my time at FDC SeaTac.
 8                 10.   On April 13, 2021, a PREA tour was conducted where officials came
 9 through and were inspecting various things. A formal PREA complaint was submitted on
10 July 30, 2021, by Dr. Hung relating to the sexual abuse I experienced at FCI Dublin. On
11 August 4, 2021, I spoke to the captain about it and he asked me to put my request in
12 writing. I explained why I did not feel comfortable for my safety and how I should not
13 have to be abused sexually by staff and have staff-on-inmate PREA abuse. I submitted
14 another request approximately 8 months later but nothing had happened.
15                 11.   There is no effective way to confidentially report sexual assault and abuse by
16 staff at FCI Dublin. I was trained in PREA while at FDC SeaTac and was told that there
17 are multiple ways to report PREA including that I could report by emailing staff which
18 then goes to the SIS Lieutenant’s Office. However, this method would not have been
19 effective because Warden Garcia was above the lieutenant. There was outside reporting
20 which would have required speaking to someone over the phone or computer, but this was
21 also ineffective because both the phones and computers are monitored in and out.
22                 12.   Staff at FCI Dublin prevent people from reporting sexual assault and abuse
23 by staff and retaliate against people who do report. The general attitude was that staff had
24 control over whether we have a management variable or a transfer. Even if an inmate was
25 to transfer, staff could call over to the new institution’s warden and make our lives a living
26 hell. After reporting the sexual abuse by Warden Garcia, I had another staff member,
27 Officer Chavez, ask me during their evening watch whether I would “play for them” (i.e.,
28 play with myself, be naked playing when they came around for their round) which I said
     [4248327.1]                                        4
                   DECLARATION OF K       D         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-35 Filed 08/17/23 Page 5 of 8




 1 “no.” The staff member responded “Well, you did it for him, so you can do it for me.”
 2 This same Officer would sometimes supervise me when I worked in the kitchen. On
 3 multiple occasions, from the end of summer in 2021 and into the Fall, Officer Chavez
 4 would follow me into the freezer and grab my butt and breasts through my clothes. I
 5 would try to play it off, but it made me feel degraded and like I was being treated like an
 6 object. Officer Chavez also seemed to have a foot fetish and on about twenty occasions
 7 made me, and only me, take off my shoes to show him my bare feet. He would make
 8 comments that “If you don’t take care of your feet how can you take care of the rest of
 9 you” call my feet “cute”, sent me a note once saying “feet matter 100%” and would require
10 me to take off my socks when I was working with him. He would let me print items from
11 the facility computers, bring in color printouts for me we were not supposed to have, let
12 me look up information on the computers and give me extra noodles or potatoes and the
13 nicer pink hand soap from the kitchen. I think he did these things to try to get me to like
14 him more.
15                 13.   In addition to staff continuing to abuse me, I have experienced ongoing
16 retaliation from my role testifying against former Warden Ray Garcia including cell
17 searches, destruction of my property, having to move units for no clear reason, and
18 ongoing sexual comments about my body and breasts. I made repeated requests to transfer
19 away from FCI Dublin and was told I could not do so until after I finished testifying.
20 When I was finally transferred, FCI Dublin transferred me under a code usually used for
21 disciplinary transfers and, as a result, the U.S. Marshals treated me as if I was a
22 disciplinary issue and handcuffed me using the “black box” which is about the size of a
23 cassette tape lengthwise and goes over the handcuffs, preventing me from moving my
24 hands at all and keeping my wrists within one inch of each other. One of the marshals
25 asked if I had testified at the former Warden’s trial and when I said I had he seemed to
26 realize something and a little bit later they finally removed the black box. I also later
27 found out that FCI Dublin put a new management variable on me when I transferred which
28 prevented me from going to a less restrictive camp setting.
     [4248327.1]                                        5
                   DECLARATION OF K       D         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-35 Filed 08/17/23 Page 6 of 8




 1                 14.   When incarcerated persons report sexual assault and abuse by staff, FCI
 2 Dublin and BOP do not seriously investigate the reports. Investigations are frequently
 3 delayed and overseen by staff who know and work with the offending staff member.
 4 Generally nothing happens as a result. I did not report my encounters with Warden Garcia
 5 to the agent from the Department of Justice Office of Inspector General in July 2021
 6 because I knew that any investigations would be conducted through SIS and it would go
 7 through the same executive staff, whether it be the Associate Warden or Warden. I did not
 8 feel comfortable speaking about the sexual encounters because it was still happening, and
 9 Warden Garcia was still at the institution.
10                 15.   There is no adequate confidential mental health care available to survivors of
11 sexual abuse and assault at FCI Dublin. Mental healthcare at the facility is dangerously
12 understaffed and only allows us to speak with BOP employed staff, many of which are
13 friendly with the correctional staff. The facility also repeatedly blocked access to the
14 victim witness advocate, appointed to me through the U.S. Attorney’s Office, who was
15 supposed to provide me support after I testified against the former Warden in Court. It took
16 over two months for her to be able to meet with me despite multiple requests from me and
17 from her office trying to set up a call or visit. When I was finally able to meet with her,
18 she was only able to see me because she was escorted in by representatives from the
19 Department of Justice and from the FBI.
20                 16.   We are also supposed to have access to mental health services through Tri-
21 Valley Care. There was no access to these services whatsoever up until mid-December
22 2022. However, there is still no confidential way to request services directly through Tri-
23 Valley care. We are required to email our unit manager to set up a visit. I did so but was
24 only able to start seeing representatives from Tri-Valley care recently and was told I am
25 only allowed to see them for no more than five 30-minute sessions total. The staff do not
26 appear to be licensed clinicians and I am still unable to access adequate mental health care
27 to allow me to begin healing from the abuse I have suffered at FCI Dublin. Before I left
28 the facility I was diagnosed with PTSD and put on medications to help me sleep and to
     [4248327.1]                                        6
                   DECLARATION OF K       D         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-35 Filed 08/17/23 Page 7 of 8




 1 help with night terrors.
 2                 17.   Staff at FCI Dublin do not wear body-worn cameras in the facility and while
 3 there are some cameras installed in fixed locations in the facility, it is well known that
 4 there are no cameras in many areas. The cameras that are installed are enclosed in dark
 5 colored glass and it is impossible to tell where they are pointing or whether they are
 6 working.
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     [4248327.1]                                       7
                   DECLARATION OF K       D         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
Case 3:23-cv-04155-YGR Document 10-35 Filed 08/17/23 Page 8 of 8
